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IN THE UN|TED STATES D|STR|CT COURT
FOR THE M|DDLE D|STR|CT OF GEORG|A
VALDOSTA D|VIS|ON

THE B & F SYSTEM, lNC.,
P|aintiff,

v. Civil Action No. 7:07-CV-192 (Hl_)

LLOYD J. LEBLANC JR., MAXAM
WHOLESALE OF ATLANTA, lNC., DlRECT

   

 

SOURCE IMPORTS, lNC., ARTHUR JEFFREY F§ LM
LEBLANC, LLOYD LEBLANC, lll, PRODUCTOS
MEX|CANOS DON JCSE, lNC., LEBLANC’S J[W 2 3 2
LLC, and EDNA G. LEBLANC, ;N!T`ED Sl`A`ll”:‘SmsrniC ~
roots oismrcr or o;§§juer
Defendants. mill

 

JURY CHARGES - PHASE l
LAD|ES AND GENTLEl\/IEN:
You have heard Phase l of the trial of this case and it now
becomes my duty to explain to you the rules of law Which you must
follow and apply in reaching a decision in this phase. When l have

concluded, you Will retire to the jury room and begin your

deliberations.

ln deciding this portion of the case, you must follow and apply

all of the law as l explain it to you, Whether you agree With that law or

 

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not; and you must not let your decision be influenced in any Way by

sympathy, or by prejudice, for or against anyone.

The fact that a corporation is involved as a party must not affect
your decision in any Way. A corporation and all other persons stand
equal before the law and must be dealt With as equals in a court of
justice. When a corporation is involved, of course, it may act only
through people as its employees; and, in general, a corporation is
responsible under the law for any of the acts and statements of its
employees that are made Within the scope of their duties as

employees of the company.

ln your deliberations, you should consider only the evidence - -
that is, the testimony of the Witnesses and the exhibits l have
admitted in the record - - but as you consider the evidence, both

direct and circumstantial, you may make deductions and reach

 

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conclusions which reason and common sense lead you to make.
Direct evidence is the testimony of one who asserts actual
knowledge of a fact, such as an eyewitness Circumstantial evidence
is proof of a chain of facts and circumstances tending to prove, or
disprove, any fact in dispute. The law makes no distinction between

the weight you may give to either direct or circumstantial evidence,

Remember that anything the lawyers have said is not evidence
in the case. And, except for my instructions to you on the law, you
should disregard anything | may have said during the trial in arriving
at your decisions concerning the facts. lt is your own recollection

and interpretation of the evidence that controls.

Now, in saying that you must consider all of the evidence, l do
not mean that you must accept all of the evidence as true or

accurate. You should decide whether you believe what each witness

 

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had to say, and how important that testimony was. ln making that
decision you may believe or disbelieve any witness, in whole or in
part. Also, the number of witnesses testifying concerning any

particular dispute is not controlling

ln deciding whether you believe or do not believe any witness l
suggest that you ask yourself a few questions: Did the witness
impress you as one who was telling the truth? Did the witness have
any particular reason not to tell the truth? Did the witness have a
personal interest in the outcome of the case? Did the witness seem
to have a good memory? Did the witness have the opportunity and
ability to observe accurately the things he or she testified about? Did
the witness appear to understand the questions clearly and answer
them directly? Did the witness' testimony differ from other testimony

or other evidence?

 

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You should also ask yourself whether there was evidence
tending to prove that the witness testified falsely concerning some
important fact; or, whether there was evidence that at some other
time the witness said or did something, or failed to say or do
something, which was different from the testimony the witness gave

before you during the trial.

You should keep in mind, of course, that a simple mistake by a
witness does not necessarily mean that the witness was not telling
the truth as he or she remembers it, because people naturally tend
to forget some things or remember other things inaccurately. So, ifa
witness has made a misstatement, you need to consider whether
that misstatement was simply an innocent lapse of memory or an
intentional falsehood; and the significance of that may depend on
whether it has to do with an important fact or with only an

unimportant detai|.

 

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l remind you that this is Phase l of this trial and at this time you
are only to decide the issues presented to you now. The parties will
have the opportunity to present evidence and argument on other

matters in the later phase.

ln this phase of the case, it is the responsibility of the plaintiff,
The B & F System, lnc., to prove every essential part of its claims by
a preponderance of the evidence. This is sometimes called the

burden of proof or the burden of persuasion.

A preponderance of the evidence simply means an amount of
evidence that is enough to persuade you that B&F’s claims are more

likely true than not true.

When more than one claim is involved, you should consider

each claim separately; but in deciding whether any fact has been

 

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proved by a preponderance of the evidence, you may consider the
testimony of all of the witnesses, regardless of who may have called
them, and all of the exhibits received in evidence, regardless ofwho

may have produced them.

lf the proof fails to establish any essential part of a claim by a
preponderance of the evidence, you should find for the defendants

as to those claims.

The first issue you must decide is whether there was a
partnership between Defendants Lloyd LeB|anc, Jody LeB|anc, and
Jeff LeB|anc. B&l-' has the burden of proof on this issue and must
show the existence of a partnership by a preponderance of the

evidence,

 

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A partnership is an association of two or more persons to carry

on as co-owners a business for profit.

A partnership may be created either by written or oral contract.
The sharing of gross returns of a business alone does not establish
a partnership The receipt by a person of a share of the profits of a
business is prima-facie evidence that he is a partner in the business;
provided, however, that no such inference shall be drawn if profits
were received in payment of the following, even though the amount
of payment varies with the profits of the business; (a) debt; (b)
wages, salary, or other compensation; (c) rent; (d) annuity; (e)
interest or payment on a loan; or (f) consideration for a sale. The
term prima facie means that which is sufficient to establish a fact or

raise a presumption unless disproved or rebutted.

 

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Except as provided otherwise by law, persons who are not

partners as to each other are not partners as to third persons.

A partnership is a contractual relationship and may result from
an express agreement that the relationship shall exist or by
implication from certain agreements that the parties have made. lf
the parties, by written or oral contract, expressly agree to become
partners, a partnership is created. lf they enter into an agreement
whereby there is a joint ownership, use, or enjoyment of the profits
of undivided property, real or persona|, a partnership arises by
implication. lf two or more persons put into an enterprise property,
money, or other things of value other than mere personal services
upon agreement that they shall each have an interest in the profits
and that the earnings on the investment shall determine the extent of
all profits, if any, to be received, it is a partnership, although no

mention may be made as to losses.

 

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An agreement to pay an employee a share in the profits of a
business when the employee has no interest in the business as
owner or its control or responsibility for its losses does not make that
employee a partner. The test as to whethertwo persons are partners
is their intention to bind each other (that is, be agents for each other)
in connection with a business Ordinarily, an agreement to share

profits and losses will prove partnership

Notice to any partner of any matter relating to partnership
affairs operates as notice to the partnership The knowledge of any
partner acting in a particular matter, acquired while he was a
partner, operates as knowledge of the partnership The knowledge
of any other partner who reasonably could and should have
communicated it to the acting partner operates as notice to the

partnership or knowledge of the partnership

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You must also decide the date on which the Service l\/lark
License Agreement was terminated B&F bears the burden by a

preponderance of the evidence on the termination issue.

The Service l\/lark License Agreement contains a provision
which states that either party may terminate the license at any time
by delivery of written notice of termination to the other party. All
notices are deemed to have been delivered at the time when they
are properly mailed. A notice is properly mailed under the Service
l\/lark License Agreement when placed in an envelope and deposited

in the United States mail, postage prepaid, and sent to the

addresses contained in the Agree'ment.

Waiver is the voluntary relinquishment of a known right and

may be established by express statements or implied by conduct. A

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waiver must be intentional. Ordinarily, mere silence is not sufficient

to establish a waiver unless there is an obligation to speak.

The provisions of a written contract may be waived by acts or
conduct which justify the other party to believe the express
provisions are waived. B&F bears the burden of proof on the waiver

issue, and must establish any waiver by a preponderance of the

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evidence.

The general rule with respect to compliance with contract terms

is not strict compliance, but substantial compliance.

Where one who can read signs a contract without reading it, he

is bound by its terms

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You must also decide when the l\/iaxam independent Distributor

Agreement was terminated

The i\/iaxam independent Distributor Agreement makes
reference to the i\/ilD and the Company. The i\/iiD is Lloyd LeBlanc.

The Company is B&F.

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Paragraph 9 of the i\/iaxam independent Distributor Agreement
states that: “Unless otherwise mutually agreed, the termination of
this Agreement may be made by the l\/iiD by giving 90 days’ written
notice to the Company. Unless mutually agreed, the termination of
this Agreement may be made by the Company by giving no less
than 90 days’ written notice to the l\/iiD, but only if due cause can be

shown for such termination.”

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You must determine whether there was an agreement to
terminate the l\/laxam independent Distributor Agreement on i\/lay
15, 2007. B&F bears the burden of showing by a preponderance of

the evidence an agreement to terminate on i\/iay 15, 2007.

Waiver is the voluntary relinquishment of a known right and
may be established by express statements or implied by conduct. A
waiver must be intentional. Ordinarily, mere silence is not sufficient

to establish a waiver unless there is an obligation to speak.

The provisions of a written contract may be waived by acts or
conduct which justify the other party to believe the express
provisions are waived. B&F bears the burden of proof on the waiver

issue, and must establish any waiver by a preponderance of the

evidence.

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The general rule with respect to compliance with contract terms

is not strict compliance, but substantial compliance.

Where one who can read signs a contract without reading it, he

is bound by its terms

if you find that the i\/laxam independent Distributor Agreement

was not terminated on i\/lay 15, 2007, you must then decide the date

on which the Agreement was terminated

You must also make factual determinations with regard to the

knowledge of certain defendants~

First, you must determine whether Edna LeBlanc had personal
knowledge of the Service i\/iark License Agreement prior to

November 12, 2007.

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Second, if you determine that Jody LeBianc was not in a
partnership with Lloyd LeB|anc, you must also decide whether Jody
LeBianc had personal knowledge of the Service l\/ia_rk License

Agreement prior to November 12, 2007.

in this case you have been permitted to take notes during the
course of the triai, and some of you have taken advantage of that

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opportunity and have made notes from time to time.

You will have your notes available to you during your
deliberations but you should make use of them only as an aid to
your memory. in other words, you should not give your notes any
precedence over your independent recollection of the evidence or
the lack of evidence; and neither should you be unduly influenced by

the notes of otherjurors.

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l emphasize that notes are not entitled to any greater weight
than the memory or impression of each juror as to what the

testimony may have been.

During your deliberations you must not communicate with or
provide any information to anyone by any means about this case.
You may not use any electronic device or media, such as telephone,
cell phone, smart phone, iPhone, Biackberry, or computer; the
internet, any internet service, or any text or instant messaging
service; or any internet chat room, blog, or website such as
Facebook, l\/|y Space, Linkedln, You Tube, or Twitter, to

communicate to anyone any information about this case or to

conduct any research about this case until l accept your verdict.

Any verdict you reach in the jury room must be unanimous in

other words, to return a verdict you must ali agree. Your

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deliberations will be secret; you will never have to explain your

verdict to anyone.

it is your duty as jurors to discuss the case with one another in
an effort to reach agreement if you can do so. Each of you must
decide the case for yourself, but only after full consideration of the
evidence with the other members of the jury. Whiie you are
discussing the case do not hesitate to re~examine your own opinion
and change your mind if you become convinced that you were

wrong But do not give up your honest beliefs solely because the

others think differently or merely to get the case over with.

Remember, that in a very real way you are judges - judges of
the facts Your only interest is to seek the truth from the evidence in

this case.

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When you go to the jury room, you should first select one of
your members to act as your foreperson. The foreperson will preside

over your deliberations and speak for you here in court.;

A form of verdict has been prepared for your convenience.

[Explain verdict form]

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You will take the verdict form to the jury room and when you
have reached a unanimous agreement you will have your foreperson

fill in the verdict form, date and sign it, and then return to the

courtroom.

if you should desire to communicate with me at any time,
please write down your message or question and pass the note to
the security officer, who will bring it to me. l will then respond as

promptly as possibie, either in writing or by having you come back to

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the courtroom so that i may address you orally. l caution you,
however, with regard to any message or question you might send,

you should not tell me, the security officer, or anyone else what your

numerical division may be.

You may go now to the jury room, but do not begin your
deliberations until l send you the pleadings, exhibits, and verdict

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form, which l will do shortly. Then you may begin your deliberations

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